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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               TERRE HAUTE DIVISION


   WILLIAM C GRAY,                               )
                                                 )
                                Petitioner,      )
                                                 )
                        vs.                      )      No. 2:15-cv-00209-LJM-DKL
                                                 )
   UNITED STATES OF AMERICA,                     )
                                                 )
                                Respondent.      )




           Entry Discussing Motion for Relief Pursuant to 28 U.S.C. § 2255
                      and Denying Certificate of Appealability

       Before the Court is Petitioner William C. Gray’s motion for relief pursuant to 28

 U.S.C. § 2255.    For the reasons explained below, Mr. Gray’s motion for relief is

 dismissed for lack of jurisdiction.

                                  I. Section 2255 Motion

       Mr. Gray was convicted in No. 2:02-cr-00018-LJM-CMM-13 of conspiracy to

 possess with the intent to distribute methamphetamine.          Mr. Gray has previously

 challenged this conviction via 28 U.S.C. § 2255.

       On December 27, 2006, Mr. Gray filed an action for relief pursuant to 28 U.S.C.

 § 2255, which reached an adjudication on the merits in No. 1:06-cv-01840-LJM-WTL. The

 Seventh Circuit Court of Appeals affirmed this Court’s denial of relief. See Gray v. United

 States, 341 Fed. Appx. 193, 194 (7th Cir. 2009).
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          When there has already been a decision on the merits in a federal habeas action,

 to obtain another round of federal collateral review a petitioner requires permission from

 the Court of Appeals under 28 U.S.C. § 2244(b). See Potts v. United States, 210 F.3d

 770, 770 (7th Cir. 2000). This statute, § 2244(b)(3), “creates a ‘gatekeeping’ mechanism

 for the consideration of second or successive [habeas] applications in the district court.”

 Felker v. Turpin, 518 U.S. 651, 657 (1996); see Benefiel v. Davis, 403 F.3d 825, 827 (7th

 Cir. 2005); United States v. Lloyd, 398 F.3d 978, 979-80 (7th Cir. 2005). A subsequent

 motion is “second or successive” within the meaning of the statute when the same

 underlying conviction is challenged. See Dahler v. United States, 259 F.3d 763 (7th Cir.

 2001).

          The present action represents another attempt to collaterally challenge the

 conviction in No. 2:02-cr-00018-LJM-CMM-13, however, it is presented without

 authorization to proceed from the Court of Appeals. Accordingly, the action must be

 dismissed for lack of jurisdiction Judgment consistent with this Entry shall now issue.

 The petitioner’s pending motions for discovery [dkt. 12] and information [dkt. 14] are

 denied as moot.

          This entry shall be docketed in the underlying criminal action, No. 2:02-cr-

 00018-LJM-CMM-13.

                          II. Denial of Certificate of Appealability

          Pursuant to Federal Rule of Appellate Procedure 22(b), Rule 11(a) of the Rules

 Governing § 2255 Proceedings, and 28 U.S.C. § 2253(c), the Court finds that Mr. Gray

 has failed to show that reasonable jurists would find it “debatable whether [this court] was
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 correct in its procedural ruling.” Slack v. McDaniel, 529 U.S. 473, 484 (2000). The Court

 therefore denies a certificate of appealability.

        IT IS SO ORDERED.



 Date: April 28, 2016                               ________________________________
                                                    LARRY J. McKINNEY, JUDGE
                                                    United States District Court
                                                    Southern District of Indiana


 Distribution:

 WILLIAM C. GRAY
 21603-112
 VICTORVILLE U.S. PENITENTIARY
 Inmate Mail/Parcels
 P.O. BOX 3900
 ADELANTO, CA 92301

 Electronically Registered Counsel
